             Case 2:07-cr-00088-KJM Document 236 Filed 11/04/08 Page 1 of 2


 1 BRUCE LOCKE (#177787)
     Moss & Locke
 2 555 University Avenue, Suite 170
     Sacramento, CA 95825
 3 (916) 569-0667
     (916) 569-0665 fax
 4 blocke@mosslocke.com
 5 Attorneys for
     JESUS VALENCIA ONTIVEROS
 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9 UNITED STATES OF AMERICA,      )               No. CR.S- 07-0088-FCD
                                  )
10                Plaintiff,      )
                                  )
11                                )               STIPULATION AND ORDER
        v.                        )               CONTINUING THE DATE FOR
12                                )               SENTENCING FROM NOVEMBER
   JESUS VALENCIA ONTIVEROS )                     17, 2008 TO NOVEMBER 24, 2008
13                                )               AND MODIFYING THE DATE
                                  )               FOR DISCLOSURE OF THE
14                                )               PRE-SENTENCE REPORT
                  Defendant.      )
15 ______________________________ )
16        The defendant, Jesus Valencia Ontiveros, by and through his attorney, Bruce
17 Locke, and the United States, by and through its attorney, Philip Ferrari, hereby
18 stipulate that the Judgement and Sentencing currently set for November 17, 2008 shall
19 be continued to November 24, 2008 at 10:00 a.m., and the parties further stipulate that
20 the Defense Reply to the Government Sentencing Memorandum shall be filed with the
21 Court and served on the Probation Officer and opposing counsel no later than
22 November 10, 2008 and the Government Response shall be filed by November 17,
23 2008. Mr. Ferrari has authorized undersigned counsel to sign his name to this
24 Stipulation and Order.
25                                        Respectfully submitted,
26 DATED: November 3, 2008                      /S/
                                          BRUCE LOCKE
27                                        Attorney for Jesus Valencia Ontiveros
28
29                                            1
            Case 2:07-cr-00088-KJM Document 236 Filed 11/04/08 Page 2 of 2


 1
 2 DATED: November 3, 2008                         /S/
                                              PHILIP FERRARI
 3                                            Attorney for the United States
 4
 5 IT IS SO ORDERED:
 6
     DATED: November 4, 2008
 7                                      _______________________________________
                                        FRANK C. DAMRELL, JR.
 8
                                        UNITED STATES DISTRICT JUDGE
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29                                        2
